ad

Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 1 of 27 oe
NITED STAES DISTRICT COURT OF THE

SIU THEKM DISTRICT BE NEW YORK
Tho Ms SER ME f4cltard s2 Se

~AG A i iBT ‘S

SLL Li Aud : ie :
1, MAVTIN LuThee Kino cE Lontétai wT
a,8¢r WiEE KwwG eV TAL
3, DEXTER S. KE MG
4, REV. SAMES Bush,
SRM, RAIEN SA TA EM a js 2 of
lo. REV, S¥ir Tie key as he Li 7

 

TLS STée/ Gi ~Ceq ~ Ao
ESARS NEW FF 4/ Farhi a4 it
1.0m Ber WArd LAFAYETTE

10,35 / VAP GBordow Os

MARL P Ad. | . |
‘1. Lovvell Witham Brooks -&-eSi dewT 1 LF Oe
IMKWeIss PEUME Former Presi TO Zz if he LOT £2 fy
IS. LEOMW, RbssEel— Char ian cof = Th Me

; ; {f. oy ff
17, Res/y¥w Mm, Breck - Pres New7 5S ff Lg fim
9, Detre Lk SohwSew-Vie & ChAr-Maw

IG. BESSVE TrWVE b ODE - TTEA SUED
LJ. VVowwe WASTE ~ ASSES TAWIE TREASULE)

IZSTEVENM ALIEN SMES BEVE- Fl at Proddte
Mews’ Courtland HAYES ~ C&¢

FO, Bvruee S&S. Cordaw ~ £6

A*MtubreY C. Hoole

LWW NEWS Aud
Ale DEFF Dut KFér Ct pe. fp hn
aa. com CAs To nd Briaw Re bE LOCA Aw
a3. NETFIS Aid. Rez Hes7iie Char wn

Olle WAIT Dig MEy- RObEYT A Lacs
AS) REET — BAO Le STA ype Sap

j oF
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 2 of 27

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
@ Federal Question
[] Diversity of Citizenship

A. If you checked Federal Question .

Which of your federal constitutional or federal statutory rights have been violated?

“Ys USC 1GK3

 

 

 

B. If you checked Diversity of Citizenship

 

1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff, Tho Ones x<Radl icf Sy, , is a citizen of the State of

(Plaintiff's name)

MEW Work

(Std.e in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject. of the foreign state of

 

lf more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional! plaintiff.

Page 2
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 3 of 27

if the defendant is an individual:

The defendant, , is a citizen of the State of
(Defendant’s name)

 

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If the defendant is a corporation:

The defendant, , is incorporated under the laws of

 

the State of

 

and has its principal place of business in the State of

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

if more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Ii, PARTIES

 

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

THOMAS Jo RADFORD, Sr.

 

First Name Middle Initial Last Name

P.O. Box 230673

 

 

 

 

Street Address J
Brooklyn / NY 11223
County, City i State Zip Code
(205) 591-1953 f radfordsrthomas@gmail.com
Telephone Number Email Address (if available)
Page 3
-,
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 4 of 27

V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must al it an IFP application.

“SLE

  
 

 

 

 

 

 

 

 

 

Dated Plaintife’s Si nature
Thi bs oS , | E pol: Zr op,
First Name Middle Initial Last Name
4.0 B2X 330678
Street Address aa,
Lick lik VY. LL BPR
County, City State Zip Code
POS —-S Y/ SIS 3 pad€é: wd sp MOS 6 wpe l Gann
Telephone Number Email Address (if available)

I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
OYes [No

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18. Page 5 of 27

 

 

 

 

 

 

 

 

 

 

INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

BES hd iE OF KE Ah beLbe7 dosed ALT ZY ASNKE

A bohe x jw A Ausitw Bod, |
Lp (i Ad SufKFer ph a iA ole Fiqh f

 

 

 

 

£ 2 % ra i yp A. fi) foe ‘
Vises SMb-TE {COT (CRME Of i A homer
SEY.
ed
IV. RELIEF

State briefly what money damages or other relief you want the court to order.

fC 0 mfEKSAZ G+ BME B: Mien whit DisrEt Robtr7 EGE
OME Bifhaw Cppuws ELF Zeke, of EB dbion Fre

bon trsT Bripw KobvT Coffea kya, OMEBELI CW WET FU K
feted Yasfitey 4 LAA eng, 10 B: [hig CMM MEWS, 10 Bice MET, Ths, ;
Je billia Zon CAST. Fah. ye Kove Ellin S$ Cb C Awd délindanes,

Thir-Ty Ly LAV VE ey iow , AR CL Aired de findaeTo FOTN VTL: We Be SCI
Loltal a~s7 diol Ahed ditern AWTS: Coc te TACT FE Dia i fIE SET Te

Al) Three -CMRAL Pp; SCLE, bocalAs7 Lansren) Bp EACA derewdanl

KE Pars Jive dana: Fes [ee Tle AGT O F My B/fhow |
Aird Bé heck Kore le OA, Comparer y

 

Page 6

syn

4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 6 of 27

Defendant 4:
First Name Last Name

 

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Ill. STATEMENT OF CLAIM /
f f 5 Pomp to - en J Bygone “ peepee
Place(s) of occurrence: — f#/ AL Ava fe CONE CSI MALL KAKA (Sh LE

Date(s) of occurrence: J o Ss mm PL rd ”

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

ie Collin ot Lu ZF, Flames Saas
hAadforl-s@, béspeci Pal Show Abel trges AS fal fows

 

 

f ; THF YI hiked ? COE IBV S 2 7 (VES Browne fe afte yo.
Seo ys A hesiKceT of Yue SH Zé AW (EW YORK, Whe
badd ce. pass je Breck f Brox WY 10956 [$e
Pac F20 673 Brechlyt ~My IFS

2. She dealers Weve (i foe S Atha Me
erm ev prushdeeT 0f- WARE Abed S7EVe" AI [EK
pelbete ilar fledicl CGE 174 pA Cen rAck

Linelek ‘Kg Alp TE vic een LOLA
MWES Abs) Dre Tin 1 FHE BAS of-~ SYA TCE TO
STALE” AS DEMS A Dhinuk Of JUE SVALE OO
Altbaud Aiel Jhp lik Sree DME $f Vs

A CITY Werkih FEF MEW YOR OF MUSICS

CEE ek a Page 5
©

 
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 7 of 27

ANA RTA AOE ae

a fit her (ain FF Was CSR ee 1 “
: oa BIW PE VOMIS ye
~ Biba SAK fhe tl 7 ZR. FoR OF Fi
COM The 7, AG UEAD Lay yi: 7. (UusPe)
DMs ZA kiacklor| st, bsnl Z fik. Mier dowe
SLL ATCA: LA Z6S ype leer FHcgh itl Espey
LANE Beet FE pcl fede.
MEE AES b/d Ex ZEeL IWTE ANTE. Aba
LUCSUKLY Fhe Ze LM ZF AS Ee Yay Lue
fee Fa yen , ot
Se Ok bea K Peek OF DA (HAMA FE De hick HE
ONES Ahel Uf fil Sp [bers Cotadlad
LS Lngecliics lit TIE oer or fin FEE Cand,
oe a < Zhée( pase p) CACEL Vie Te W772, i
. ft | LSE Cf; ANS ed (VA Of~ Ve ae eo
bs i Vt ey 2yY UME ko Com purer Chips ipa fe FR
bad Wi LA CLO. Chew “lV, Miwa Zapp THAT

 

 

 

 

 

i
Pn ge

 

 

 

 

Wi be j JS jk’ Ate Atcoad (lM FA SAS Geer
Oe Fle MS pred (Cpa tses fep. pejA dine [lle

_firiiser FoR CAIZH/ Caw , ——

Or Oh- Ab wr Becl LUA io Torr MoZh Mee a felerd
CAs MME Laks Mawar. Fe Cy, Te KIL : é ; ren ac Ma
ELM, WAKE Sie WE Pied hu Fo

| } ii a
LY VEMSULLL MW tle ap fa tculd pe 7 SB

beds OS 7p 7th VE SY Hie gga l Od Thea
_bWetkes: £Cr pal yi SCLC gy pH fl, C&T
rp ) —

 

 

 

 

 

 

 

 

 

 

  
7 CoBnapyoses tS Dawwen? PG wot rags gag FT
bh SATE SR Arkl2) Askrac fer
hiv Fi bho Cod dhs fer Wh sdb y
Loe LE fre hes ArL f AMEN MEM BES 0 dhasvest
Nba. Zo. (OLE. tt TA, SAME. by WES
opi Ehiprir Ze (lk QOLE body Jae Fe
Aid Ugsti~ CHUM FV. oe
Dus AF « Ahi MA! Cop TRACZE
Leith P27 Uuiew VC, 2dr Latel
227 hice (0 Fake Pers As ACME S
Workki~ b> psSecvél (140 PDT fp LLAMA
AbmhaD ew bb 7k Gi Cf IPEO
Zh CHM Cr. THEIL CA / DB%
MA Can ZE_ bse Stal JUUZBGE phe TAS
Suez Ler ZHOU Soh ba Vv ow eS es,
a. y ety pti fe SO LEO CA ZLLEZO
a (pS Jl WT lV CA
ARMA KEP ZGo TEL, Tem Cr
SKE ae PHT LBL, SH ZIRIW OC A WER
Sui. Sade Ketel VAAGP 0A Hn Kk Se Mil HE

Ail Sign Mk 1 EBS <i SoZis
JAMAL :

 
 

 

 

cane

Si Aveual Mb CLL PECY 8 7RTE <TH _
LAOS CAG VA Te Wweaes Sift r~ foot Jud Me JOP an

Niel With. -Tlinites- (Ex fla FIFE Lica
SF AY! THe bcc fs! SA fle TC GFE
Lit lors “GE Papas, rye? ies 58 Peed a "PF Léacler —
SHikl RT Fivs7 bur 2 hal by False
Zeca jue Uktegh Zé [Ae QerP
—f. Meade Ahr PCF oh 0 my
J brs Loop P27, SCLC ped HAC fp O&A
Te Cetfudirg Ail CALPE ZE9RIAEL, FRISCO
bheLEF. Leecke Oe SAKE Ze STATE
Was Wr. ZL LY A (ma WhTE 60¢
Anke Witlaes Yt, ep Lkirtes fl ei QIK
betks of STM fe STH THE; SHAT HIE A
Lek. DAT OL, bb TE TE. FbCw MAK
pf (EB Fight» AAA AL Mb flit b, oa Z SH oe
Lal TNCTLEKA (ZC ZAAT. Ve

10. [MAF pl Sh Lengo
flb seer pe pharVilh bd. hth, (MOLD
CEA Liecll ES Finck flek ZH, OBYE —
o- “Séss Chrc Atl Whe MeL Le Ze
Lack Uf fey Wer eo, ZH ELSA OCW
le Lt S Spr Seu. Or Aol ec =
EZ Flee it, Ose. A= GELS Chi

Zo MMV SAT On He AS Vgeel FEL Sb
AT Phe Fbuchire pH SES Chvis7 Abc flee Lar

Ws Lock Mf WN Fhaur A CLW%« Ler ove
Twin. Uy Cod.

 

 

 

 
LL NRA OPCS EOP PT HALOS op tia anot 2 HEC
Viv {EF- Zder7y wes LES THR AK AUMAY -lree~—
fi UZ VTE Lies iT 0c Sc Dike ad LO CLE
6 Hk Fe!» Tht. ft iA pc Gl SATE OF

EE, VHs , Gi: bs err FU OS9EST— Liha G

- Thi BE VE

Jo, ZK Ati Aheuieh Gopa” fii MiAVK LEGHH
TG WZ A bek bf GYidwil yl GAD
Wize mary Chdibls hid Atxks Awl player

DEUS peed: hoster chan (Atel V6 %

aries ft SA LE WAS AT ulleck feo
fAG// 0 ZV VIZEL SESH. Ly Mas (USPS)
Vikraadel Syl FAR “Ah SoZ ZZ pbs (hee 7
Ob Ared With Meds« toh 70th MAES CS TE
WAS Se Ev Tel ZS yf ‘Beste Cl LY. “de
JAY WbZer. [AS PIE _ THE bh def ZELE
SECVE fay (flo CyMezli! M STILLS fied foes A (£5
SX gawk AS ZFS Ne Wee hh ravucadl
EA GAIT « Cykziyh S7tbbs ws A

Sethi Ty AT SS kick ff Sn pe Zug SA 7
Cc Nyda OF Fi lK

JB, (hoe Fol Eo Mick Lileligie [EFM Y Lif
USPS CbV 77h ww, Epic eden La Chipee AA
db KS 4 a, Thr aK Ahich 7M F EK -—

CAC £ le ow ie fd hi EK MAMAN MS 7 ZS ZT
A few ves (obec. Ke MAC UAE VES TAS ATI
SN 4S FV FGEMVOGES TZ MMO E/E Vagze

SO

 

 
[ Y caseipeeyqne2s |) Ypowimp ery ledaaiegias. Phaplie Lax e+
Deushe Tithe AE MOM Zo OL AE Prog
piel. Tapike FE Thk Udi FAL SVK isiric
 OGNT Sig Seti (UEP CL of- Vee MU

b0 be ST: $A Hk OLY FERTIL. FE

: Vad. 0 ok is hak FO (tte, fo Oe
Mt Zeer KeMbbey Lin ph bi ral KEE!

: Ir Ths | Le We SVG Zoe TLAIS Nh tffenss |
1, MATE: ZU Theuthrot ty ds fancle
heiirs Cha fu Th Oniar Ko UO TAF baby
LALA fd NEA a MET VTA

SVoks Apel Mis {& Vary Very LeFHALIAS
=A LkevZlé Zs (kp A Bade ef”

etc (9S Pit bbits AZ Lele ay

DBT SUM ptt Lull lke’ SECS,
(ibe) Co medi, -&iLa ke Ad CLAC MEWS,
ANALG n- 9 tk Mili TVi Grol OS TF
LH LEAK VA ae et en
epyfhifuups AAMK i +. Letts Fhe ft EVM oa
Jel Tabi FV. SEM UM. $i Ld flan

Kibo. L wee TEAM TE | Mfr. Fuiacy Laer
Wetll dels COT Fhiik Ve URKS SP retgh Al

Garhi, FT Wie MUA BY? By FEZ
MV My Seer Of, Sduie! pve O° yeu lel tC rie
fIEW Theres Fhe (PSE [ELE TGR T _

Tk / \fle WA EM re ey tC GV:
NEAL My Mit 7" Elie 5) —

 

 

 

 

 

 
[bpp BBS Roy UFIET Ep AE ek esrecer
1b forlorn Aer. Zims Gb/s (AZM | 7 Ue
Li haa PE he [hel EVE ACO Hh, heuer
wd Mk Zhe Fa fie, EVES OE Kh
wher Zo heke Y del pene Zo GEA Mo
— EVER AoW Miko Z Se Ko FH SHREK
ffs =. iid Wa bb utey Jeff
: Als Ai PMWTLA? (h SCNf oFor nr pr /fk eS
TO WALT Sb 0
of AT lhe fiew jee Stl Lebar oe AMT Meb-
[2, fe TE WA CB Li laeg ACL al
Cts AGAST (AAG SCLE pel Loy 227
Uhicn. t-ev Vib Veale of Mla MoT!
re Je. Shales, Sut eat heeds of HE
kitgie-, hl be TAF MeTbe! Cy lhoos
Sy bcke Lf MMe TALE CE... Mykive SKA 16

 

 

Werke Ail Sh Whe FU ANY VMS.

 

 

 

 

/ 2-
 

4 SLL case 1: LNG Leb 1PE

ae afl Cos
Med Lb AL ALE. te EE

om
O
ra
fu
+r
ci
eo
-
co
o
.t
“oo
i
-
a
m

SS Pi “ ys & Oy, te IM “TRE it used $ 4

fi . J ~ Ss Fotal Postage an ere
LhadléS S feel Se~ de: a 5 Be. 70)
“TF

 

 

 
 
 
 
  
    

Pls TIP: Thumas "Oe og (VEE sited lead se oe

Dépri dards Mak Hw LatThek Kivecdil - 72
Gerilfied Mail Feo “SS 745 tt Sd
$ $275

 

  
   
 
   
 
 
    
     
 
  

Exira Services & Fees (check box, add feo ayatprotyfate
(7) Return Receipt trardvopy) $ “ aa OG ,
{[] Return Receipt (electronic)

[7] Certified Mati Restrictad Delivery
(J Adult Signature nea,
("J Adult Signature Restricted'fislivery $

Postage nt, alr \.

 

BERNICE | KinQ- wis “a! hog
‘( DE x TER 4 Lee Kew 3 1
NEV: SHE rs Bush ~ ~ Mic “ad hive Ze

AN! k av, Rate wih Tawticls ~ bie aed

 

 

 

 

¥ dy: it FueKe dk 7 MME a Wi

 

 

 

 

 

 

abe A ia Ve ; NeW Br ue a a ‘is

fi B a ape [Sent To SOL Cc.

a Hah ee No., or PO Box No.

uae AVE. ME.

emeno

"Law ith howd.

 

eng

( Place Fake Me Tike Thar WaeieTlFk
meoThe Sulseme Lod kT iM Thisiy GAYS Bed FR
Tx Tin Te
an ORM ox

fps This wor “OF

A

 

   
   
 
 
  

3 os “ , wy bh fog meet ee " ~S seenger “ yee
Bethe poo unPeiih GOR EO Sens

Aah hale 3 HA SEMIS UE

   
  
  

 

Mo Aas
fee eo ‘f L t a IVE
i bee A $ ‘ Sa ae
Wen pi eae eee S 5h) Ae Si Ae:

 

. See fo] f 5 :
pace . oe ft dt c a ; a ge “tn? sgh PG
Vee ae eae La ft Eo ee gle se £ , AA. ci fe ge A a

A: Lhe Fe Ly Thee F

   

 

         
 
 
 
    
  

 

- Lg vu i
- Yeul Aas, fo yi te Ht PE. Sp Fe eh oe OPE
bee Ed trtine foe st

eepage ; .
tt teen .
yy es PES ae

  

 

  

ed te hws Se did,
OF dee br teee th Mises Con ae

   

f Ged TD See ved (i AGKek Wie ae G hh,
Eee Pied Seat Wd fs ths aed MAA i. MeV ee Hhiees bh,

4

Du SHYL Gane w
cit pe SIS F FOAL ok as ame wel high 3 AC FICO Ohi Plex MYC.

ce ao
I dod Youd fiihed Atel F wds Flack ywhaw he reve Fhal Kame s

py
py cts ce WIE FG Gb Lh S0Gh A “Wl. pie Te hive OT have bred ves 2 ATE « “

45K Yd Fa SeF7 He uv Wh this 4 bt ek * PERE Vet FS ‘hated! ae i -

Aon i weed This fend MLN The see Wsee O COME The MANE.
1 hed Abews V7 eT Eod Use ets hie WAL LE Ver juCe Give yee A LAAREE.

QT nt 5 neegely

THO _ “Uy,
MAS J RADFORD we he si llend ge ch, tcl ed

Thi dhe Sebats Badder. dss?
Yr b> pols

 

 

JF. Po

 

  

 

      

 

 

 

 
 

 

205-541-1953
SEN BU §

1/2
Case 1:48: o¥1032

  

4 wane p

   
      
  
    
    

 

Certified Mail Fee

m
of
i ll om -
. wn eo ~ | tts ; . a wf .
Pai Ti ME. Thomas SExame hada “i Sect, ma $3.45
> f Ary b Kooks de ek m Extra Services & Fees (hoa OX, a ao his
Detea gels: CoRMEL Ws Me = (heck bo aa ioe %
oi 2
m2
ca
|e
add
rm |

 

 

io oe ae J 4
Kw ia “yf if FE Va HIE te sm & Be SALA — [2 Return Receipt (har ca $

(Return Receipt (elect oO} $4
hi bil Leow 4 Au os Af om é CHAK es My . (1 Centified Mail Restricted Bavoy gf
Rasdvnwt mt, B&oc K~ Resedide

ClaAdutt Signature Required ca Ato
a tt Daas ch —Sahiso— Vite LAARAAM

 

    

Apo

 

Postage

; SS a XS5

[Adult Signature Restricted Delivery $e.
; on UREK
“VA MER « ae. “TREES
GE ESSE Te Total Postage and ee

é ie ASS SHAT Tee I UKES oH
ie whe je~ PRE fo ASSIS Pha T “GEE $

Sent To
STEVE ae Alle S@uc [hexg~ 08 BE MIC “ rs NAA C iv

 

 

 

 

Brace S. Gorden- CEO M1 Ids Y ro S WES Tore AVE. 8.
Caw Cas ost Fh Sy

i / Fthe Notice Thal "Mee TitF | Thamas ol: 138 Seo ae the ATE Your &
me fe satin The Salhenttes Cows Tid TRiety day NU ¢ ‘
Paidae Di : -

= 2 i ae

This MOTICE OF Se TEN Tian, _ aang 0G Vb Ke
JD) Gv ok avoundl D06f Pave GIES To SenF Cow Teac Ti Te NAL Con Ce fir a Teun win
+ e CA BUN (h #eitaw MAME Lh S787 jd Js STA fet Abed DYA rtin cf bot He V3. wd Ret c e’
° Co “ & ‘ . g ic ; ' ay

* | ie us un Tel PO43, Which Pik: MAAC! have Colle. Ved Suat oF MOLY Ab ise
wr Me fae “Ttvel Hod Raw are Te Ais Taahir Cop SH it &WweTh bro duced’ Alen SHE J best
f we tlie Pate Bbe ee

~ é ory Be 4.
aact my A Fill AF 2 IM Sook. bas Took Fh. Mot

  
  

 

 

 
   

   

 

 

    

Ti ee we Ag t ne F yO Fas et

is WiThout Kaayaes Tar dae Lome Aus Lok iw je Fe
: CFG acl Oe gh S TA PWe Je SH, 59 fhe And ‘p; Aevtonc

 

Pubs To Sead Cow Tite ls
MARY books 443 one Tha T ies
igiv { eet igs

oo my a Twice Fook Some OF MY Sb echs

a frd Was LuT ud? ow TRE afd

PAu A Few ate, AFht,

   

 

ck ek" "Ge PS HOH beater Lp Fi je We ze WAT he 5 2 heath h
ahle by AO? wank CkISs White 76 D PAE CoS S$ he

   
 

 

     

 

| / - bee PO 6S wad magi af Pook Off ge
SO) OAM tte The was A ché hates 0 Mb id Met behets FT -¥e

paw ff paver ne ofiatonome é- 3 vo py ean penn
POORER ERE SAS WAS MO TRKG @
: > > é f maggie” ia é t ' af oe j - i

A dbions aw MT beck: PHROACA MEd

 

 

: ihe as bers Goll Fe me You have bolle;
3G AME “4 ‘SL ke. 4

 
 
 

 

Filond Phin . » K
66 We Loaat GA? tad SELL WAl GOT The bioge i Take
CRATE B® STATE Nod Via tones 6: Rf Fe ‘

Sthicty Five Aled Ec Fie i anal hele we CAN latte

   

5 bu i, qu Q (bee ie

iy

 

     

 

ae

GAe de Ad w Adee Thi S Hh rh be AL AEG RE
BMA T AL Wwe bev Lae Ge aw Fi VrICk

een

fe
i
AGACK

 

 

THOMAS J. RADFORD

Soot 205-549-1953
SIN 3/2

va ay

 

a
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 15 of 27
nal
B. Defendant Information
To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the

defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: f)) 4h kK Toe L / A / wG TH

First Name Te Name

SLLL- fssider7 of (orapne lrssidenwT

Current Job Title (or other identifying information) . _
SCLE 22.0 Auburn AVE ME;

Current Work Address (or other address where defendant may be served)

AZLBMLE. 6A 30393

 

County, City State Zip Code
; € , fe
Defendant 2: B Ev f/ (CB. K thy
First Name Last Name

SELL ~EgEnbbEr
Current Job Title (or other identifying information)

StLLt 290 puburv AVE VE.

Current Work Address (or other address where defendant may be served)

 

 

 

Jt ZANT A Gd 207305
County, "City State Zip. Code
Defendant 3: DEXZEV S é A. “ “G
First Name . Last Name

SLLL ~MkM GEV
Current Job Title (or other identifying information)

Cc Lt. 330 Mbitw AVE WE

he W. rk DisTe (or other ee where defendant may be served)
bh. Be SOS

ea Li , State Zip Code

 

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 16 of 27

p

eon

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: f, EV “Saes B Ss. A

First Name Last Name

SELL ~ MEMbEl STE.

Current Job Title (or other identifying information)

SOet 2330 puburn AV Me

Current Work Addr Address (or other address where defendant may be ened)

 

 

ATI bCTH. bt 3020 3

County, City State Zip Code
Defendant 2: hiv Ap Ms: oh TA MMEL!

First Name ~ Last Name

SCLC ~ YEM OS STE

Current Job Title (or other identifying information)

ATTA ~ SUL C. 230 Bibuhl WE ME.

Current Work Address (or other address where defendant may be served)

 

 

 

aA Tie F#- Got : “SISO8
County, City State Tip Code
Defendant 3: VEU Syfir FuckKEY
First Name Last Name

COLO MAME
Current Job Title (or other identifying information)

SLLC 3220 fulbdkKe WE WL:
Current Work Address (or other address where defendant may be served)

AZT BOT Ag. 6A 3032038

County, City — State Zip Code

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 17 of 27

C

emer

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

 

 

 

 

 

 

 

 

 

Defendant 1: LAA HES SVELI OS
. First Name Last Nam
~ 2 ‘ a
CEO sxe Liss dinzZ
Current Job Title (or other identifying information)
SELC 330 ut bu ell AVE. WE.
Current Work Address (or other address where defendant may be served)
EZIAALAA: GA 20 3638
County, City State Zip Code
Defendant2: 2sAds Me fArhs “Sh
First Name Last Name
Sh —MbMCEr
Current Job Title (or other identifying information)
SOLE 296 AUublhn AVE: WE.
TTL. ork Of. ess (or other address where defendant may be served)
ATL da _ 208
County, city State , Zip Code
Defendants: Wp, Berward. — LAF AVET FE “S*.

First Name Last Name

SLLC— Lhhir-nky

Current Job Title (or other identifying information)

etl e— 336 bubuRl AVE LE.

 

Current Work Address { or other address where defendant may be served)

ATT buh C4 2030 %

 

County, City — State Zip Code

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 18 of 27

D

nearest

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

 

 

 

 

 

 

 

 

 

Defendant 1: S Pi VA Cordow
First Name Last Name
SCLC ~ ThEAUKKE
Current Job Title (or other identifying information)
SCL¢- 230 AU6UKK AVE NE
DITA Address (or other address where defendant may be served)
Alt-A. GA IO BOS
County, City State Zip Code
Defendant 2: LantWe L ; > PHI AE COC
First Name Last Name
CEE 37
Current Job Title (or other identifying information)
BOR Se KK STO
Current Work Address (or other address where defendant may be served)
PULWS. Z XE : Xe. ae
Céunty, City State Zip Code
Defendant 3: .
First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City — State Zip Code

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 19 of 27

£

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: AAWMEM Ww & Looks

First Name Last Name

Verne - Aasilénd

Current Job Title (or other identifying information)

WAKCE [0590 S. WEST AVE STE QEl

Current Work Address (or other address where defendant may be served)

 

 

LNCAG¢ LVS 60642
County, City State Zip Code
7: wf ¢ .
Defendant 2: A WEtSs SUF UIE
First Name Last Name

VAAL ~ Fokube (0s deel

Current Job Title {or other identifying information)

WARLL ~ JOSYO S. WésTG" AVE S7E 72

Current Work Address (or other address where defendant may be served)

c
VA Ain AGG “ff
¢ AN CAGE fe 606G-38

 

 

County, City State Zip Code

Defendant 3: LEO A W/ KuUSSELM

First Name Last Name

VAAel - (haiemibr

Current Job Title (oro other identifying information)

WARK - $0548 8. Ves AVS S7PU

Current Work Address (or other address where defendant may be served)

CA(CAIG fi BO

County, City ~ State Zip Code

 

 

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 20 of 27

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

Defendant 1: hashie Me Lbvoek - LE Shee T~
First Name Last Name

VABLE- fees. leer

Current Job Title (or other identifying information)
VAACP- [OS%0_S. WES" AVE STE PO!

Current Work Address (or other address where defendant may be served)

 

 

Chl tAGo fle bLIbYS
County, City State Zip Code
Defendant 2: de rhicr Do hase Ww
First Name Last Name

VAACE —~V(cé Char mAaH

Current Job Title (or other identifying information)

wha’ ~/O5Y6_S. Wes Tie AVE S7€ C1

Current Work Address (or other address where defendant may be served)

 

 

 

 

Chtenga /L-~ ~- 666Y&
County, City State Zip Code
&
Defendant 3: DESS +f TUhN EK apy
First Name Last Name

NGKCO- TREASURER

Current Job Title (or other identifying information)

WARCE~ 05% Se Wis WE. SPE

Current Work Address (or other address where defendant may be served)

 

a 4 bab v=
County, City — State Zip Code

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 21 of 27

be

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

 

 

 

 

 

 

 

 

Defendant 1: Vi OME. WIZ
irst Name Last Name
MAhed - ASSisheT TREASYEK
Current Job Title (or other identifying information)
whhel- so S. We AVE S# gel
Current Work Address (or other address where defendant may be served)
CA! AGO IL. 6IEYR
County, city” State Zip Code
Defendantz AU Srey ZL, bhoo EA~ A
First Name Last Name
WVAACE — ASSés7AKT SU ey SFE FU
Current Job Title (or other identifying information)
WKACE - JOSVYO S. WESFw AVE
Current Work Address (or other address where defendant may be served)
LM AGo fb. 6°64
County, City State Zip Code
Defendant3:  SZEVEK A ‘ SPAETSELS

 

First Name Last Name

NbACp- f(a fhe duger

Current Job Title (or other identifying information)

NAKES-- FHS, Wesmw AWE.

Current Work Address (or other address where defendant may be served)

CNICAIA fl. — Lobys

 

County, City — State Zip Code

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 22 of 27.

i

an

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

 

 

 

 

 

 

 

 

 

 

Defendant 1: Dervis Ci HA VES
First Name Last Name
WKAGE — CEO gre.
Current Job Title (or other identifying information)
VMHHEY f05 40 S, Wee A VE SVE.
Curr nt Work Address (or other address where defendant may be oe
LA (CATO IL 6063
County, City State Zip Code
Defendant 2: fh LVCE  -S: be Adair
First Name Last Name
finned — CAO BFE
Current Job Title (or other identifying information)
Wihed [OSY) S, WESZEW AVE STE PC
Current Work Address (or other address where defendant may be served)
Chitage JL 60642
County, City" State Zip Code
Defendant 3: . .
First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 23 of 27

fy

eerste

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

Defendant 1: DEF/—- ZUCke
First Name Last Name

CNY Shes, Sit BO
Current Job Title (or other identifying information)

LVYY [EWN Ese Zeb

 

 

Current Work Address (or other address where defendant may be served)

 

 

TENTH. CA BORE
County, City State Zip Code
Defendant 2: 0 VV NE WS
First Name Last Name
CMW EWS

 

Current Job Title (or other identifying information)

CWW [| LWNM LEWHR

Current Work Address (or other address where defendant may be served)

 

 

 

ATILTA a, 308YS

County, City State Zip Code
Defendant 3: [0 1 CA Ss 7 Ld Mf, MEM

First Name Last Name

 

ComtAs7 - Can fans

Current Job Title (or other identifying information)

LomMLAST -LTa) Sahy F Kermed/ Bly W07!

Current Work Address (or other address where defendant may be served)

Lh: laché lok (4 M103 - Ke

County, City | State Zip Code

 

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 24 of 27

Reereenn

<)

arene

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

 

 

 

 

 

 

 

 

 

Defendant 1: 4 KAM Ki Q LarZ
First Name Last Name
fomths7r. LELChat Ae
Current Job Title (or other identifying information)
(OMENS T (201 Sohw F kewed blvd 71
Current Work Address (or other address where defendant may be served)
Oh i/ivke (~hia A LG LO3-#3E
County, City State Zip Code
Defendant 2: KJ ee Fi Hy fo LUBE Y-
First Name Last Name
NETENK Lo php
Current Job Title (or other identifying into ormation)
WETFIY 120 W, wre Civtle Los
Current Work Address (or other address where defendant may be served)
CATES LA 7S I3P-
County, City State Zip Code
Defendant 3: KE TE of HAs Ae N
First Name Last Name

NEGEIiy Chad

Current Job Title (or other identifying information)

LETHIMy (00 Wivthes kb Citelé Los

 

Current Work Address (or other address where defendant may be served)

 

Guves CLA GI3Q
County, City — State Zip Code

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 25 of 27

K

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

 

 

 

 

Defendant 1: \Weal 7 Us MEY
First Name Last Name
WelZ is ey
Current Job Title (or other identifying information)
Wal 7 fis NEY SOO S Bysni Viste ST
Current Work Address (or other address where defendant may be served)
Aubbaok CH PISHI-JOCS
County, City State Zip Code
Defendant 2: hod ELT. fA- Jae tr
First Name Last Name

Wil Osncy  Chakentr heel CLEC ET

Current Job Title (or other identifying information)

Wl Disb S00 S Oilénd Vis SK

Current Work Address (or other address where defendant may be served)

 

 

 

Buyyhank Lit G4 A -GO
County, City State Zip Code
Defendant 3: it Th 7 AELET
First Name Last Name

eet

ALET ALE]

Current Job Title (or other identifying information)
BOS Si Akh 57
Current Work Address (or other addrész where defendant may be served)

(bis . rE 76 9

e6unty, City | State Zip Code

 

 

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 26 of 27

L

en aad

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

 

 

 

 

 

 

 

 

 

 

Defendant 1: NAA. VRaCL
. First Name . Last Name
WAAe’ hnof
Current Job Title (or other identifying information)
VARCE fbs~ S. WESZIW AVE SHE Der
Current Work Address (or other address where defendant may be served)
1 CAGO ZL. GILES
County, City State Zip Code
Defendant 2: SEL LC S CLC
First Name Last Name
SCL S4£e
Current Job Title (or other.jc!~ ntifying information)
S@lLe 33.0 hubure AVE WME-
Current Work Address (or other address where defendant may be served)
ATH LU 30805
County, City State Zip Code
Defendant 3: _ on
First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City — State Zip Code

Page 4
Case 1:18-cv-10325-LLS Document 2 Filed 11/06/18 Page 27 of 27

VERIFICATION

STATE OF NEW YORK

COUNTY OF. ss!

, being duly sworn, deposes and says:

 

I am the plaintiff in the above-entitled action. I have read the foregoing complaint and know the
contents thereof. The same are true to my knowledge, except as to matters therein stated to be alleged on

information and belief, and as to those matters I believe them to be true.

 

 

[sign your name in front of a Notary]

 

[print your name]

Sworn to before me this

day of __,20

 

 

Notary Public
